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AO 245B. (Rev. 02/08/2019) Judgment in a-Criminal Petty Case (Modified)
                                                                                                                                                          Page 1 of I /-/...'


                                     UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF CALIFORNIA

                     United States of America                                JUDGMENT IN A CRIMINAL CASE
                                      v.                                     (For Offenses Committed.On or After November I, 1987)


                   Jose Luis Hernandez-Gaytan                                Case Number: 3:19-mj-23124

                                                                             John G Co . "
                                                                             Defendant's Att rney           --
                                                                                                            -
REGISTRATION NO. 6537 1298
                                                                                                         FILED
THE DEFENDANT:
 rgj pleaded guilty to count(s) 1 of Complaint
                                                                                                    I:       AUG O"""
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 D was found guilty to count( s)                                          ~.OUTH~l'lN DIGiRiCT OF CAL.IF9RNIA
   after a plea of not guilty.                                                   "

   Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
Title & Section                    Nature of Offense                                                                    Count Number{s)
8:1325                             ILLEGAL ENTRY (Misdemeanor)                                                          1
 D The defendant has been found not guilty on count( s)
                                                                          ~------------------
 •    Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ dismissed on the motion of the United States.

                                            IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of:

                              i\    TIME SERVED                           D _ _ _ _ _ _ _ _ days

 rgJ Assessment: $10 WAIVED                       rgJ Fine: WAIVED
 rgj Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
 the defendant's possession at the time of arrest upon their deportation or removal.
 D Court recommends defendant be deported/removed with relative, _ _ _ _ _ _ _ _ _ charged in case


     IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant's economic circumstances.

                                                                           Monday, August 5, 2019
                                                                           Date ofimposition of Sentence



              DUSM
                                                                           nltJt~i~:CLOCK
                                                                           UNITED STATES MAGISTRATE JUDGE



Clerk's Office Copy                                                                                                                    3:19-mj-23124
